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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


StandWithUs Center for Legal Justice,
Katerina Boukin, and Marilyn Meyers,

       Plaintiffs,
                                              Case No. 24-CV-10577-RGS
v.
                                               Filed with Leave of Court
Massachusetts Institute of Technology,

       Defendant.



                  REPLY IN FURTHER SUPPORT OF
       DEFENDANT MASSACHUSETTS INSTITUTE OF TECHNOLOGY’S
            MOTION TO DISMISS THE AMENDED COMPLAINT
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                                        INTRODUCTION

       Plaintiffs do not and cannot allege what binding precedent requires to sustain their

extraordinary claim that MIT is deliberately indifferent to concerns of antisemitism: a “clearly

unreasonable” response in the face of severe, pervasive, and objectively offensive harassment.

MIT’s robust and ongoing action stands in stark contrast to the abject institutional failures this

narrow private right of action guards against. Based solely on the facts as alleged in the Amended

Complaint and the materials it incorporates by reference, MIT’s response is not “clearly
                                  1
unreasonable” as a matter of law. Plaintiffs also fail to allege essential elements of their Ku Klux

Klan Act claim that MIT was negligent in preventing a student-driven conspiracy against civil

rights, a bald attempt to hold MIT vicariously liable for the actions of students in contravention of

Supreme Court precedent. Nor can Plaintiffs evade the pleading requirements of federal

antidiscrimination law by presenting their same theories as state common law claims. Finally, the

California-based legal advocacy group driving this litigation lacks standing, and neither it nor the

two students involved has a basis for the unprecedented injunctive relief demanded here.

                                          ARGUMENT
                                                                               2
I.     The Title VI Deliberate Indifference Claim Should be Dismissed.

       The Supreme Court and First Circuit have established a high bar for pleading deliberate


1
  Plaintiffs suggest this Court should disregard public communications and websites their own
pleading references, describes, and even quotes (Opp’n 9 n.6). But Plaintiffs do not seriously
dispute the authenticity of those materials, and the law is clear that courts may consider exhibits
to a motion to dismiss that “form the basis of (and thus are necessary to proper evaluation of) [the
plaintiff’s] claims.” Monsarrat v. Newman, 514 F. Supp. 3d 386, 389 n.1 (D. Mass. 2021) (Stearns,
J.).
2
 Plaintiffs do not defend, and therefore abandon, any theory of Title VI direct discrimination. To
the extent Plaintiffs are now attempting to bring a “pattern or practice” theory as a separate claim
(see Opp’n 2, 10, 12, 13), they neither plead it in the Amended Complaint nor cite a single case
recognizing that theory in a Title VI context.


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indifference. Where, as here, it is undisputed that MIT is responding, Plaintiffs must allege actions

so deficient that they are “clearly unreasonable” and amount to an official and intentional decision

not to remedy harassment (MTD 9-14). The deliberate-indifference standard is not so prescriptive

as to require funding recipients to “purg[e] their schools of actionable peer harassment or …

engage in particular disciplinary action.” Davis ex rel. LaShonda D. v. Monroe Cnty. Bd. of Educ.,

526 U.S. 629, 648 (1999). Rather, it limits liability to the types of egregious mistakes alleged in
                                                                           3
the cases Plaintiffs cite (Opp’n 15-17). No such facts are alleged here.

       Plaintiffs also double down on their untenable position that Title VI requires institutions to

stifle freedom of expression (Opp’n 20-21). To start, they contend that free-speech principles are

irrelevant at private institutions, ignoring the settled view (expressed by the Department of

Education’s Office for Civil Rights for decades) that Title VI enforcement must respect free

expression at public and private institutions alike (MTD 17-18). Next, Plaintiffs confuse two

fundamentally different issues: whether it is permissible for institutions to regulate speech in

specific contexts (as in their cited cases involving Section 1983 claims), versus whether it is clearly

unreasonable under Title VI for institutions to respond to alleged harassment in ways that protect

the free expression of their students (as Plaintiffs urge, with no legal authority). Last, Plaintiffs

claim the “at issue conduct is not speech” (Opp’n 20 n.23), ignoring pages of their own allegations


3
 The cases Plaintiffs cite involve circumstances where school officials “[f]or more than a year …
took no corrective or remedial action” in response to repeated harassment of the same child, Grace
v. Bd. of Trs., 85 F.4th 1, 12 (1st Cir. 2023); continued to employ a coach who raped a student and
persisted in inappropriate sexual contact even after disciplined, Canty v. Old Rochester Reg’l Sch.
Dist., 66 F. Supp. 2d 114, 115-16 (D. Mass. 1999); refused any intervention other than informally
speaking with the perpetrators despite their escalating physical harassment, Vance v. Spencer Cnty.
Pub. Sch. Dist., 231 F.3d 253, 262 (6th Cir. 2000); failed to address repeated and targeted threats
of rape and murder against particular students, Feminist Majority Found. v. Hurley, 911 F.3d 674,
689-90 (4th Cir. 2018); and did not strengthen their response as years of harassment directed at a
particular student worsened, Zeno v. Pine Plains Cent. Sch. Dist., 702 F.3d 655, 669-70 (2d Cir.
2012).


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insisting that MIT should have shut down political speech about the Israel/Hamas conflict because

Plaintiffs found it offensive. See, e.g., AC ¶¶ 147, 150, 151, 288.

       Plaintiffs also fail to allege actionable discriminatory harassment, and their cited cases only

underscore how their allegations—which mainly involve email listserv communications and

protest chants advocating for Palestinians and/or condemning the Israeli government (Opp’n 18
                                                      4
n.20)—are insufficiently “severe” and “pervasive.” Plaintiffs complain that MIT relies on cases

in which “most conduct described was not actually proper for consideration in assessing the

sufficiency of the alleged discrimination” (Opp’n 19). But that is exactly the point: the fact that

some student allegedly experienced some harassment in some place at some time does not make

those allegations relevant to the burden these specific Plaintiffs bear. As to their own experiences,

Boukin and Meyers allege isolated encounters (AC ¶¶ 156, 297, 301, 355) that do not qualify as

severe and pervasive under governing law and are not alleged to have “occur[red] in the context

of [their] educational pursuits” or “denied [them] access to the University’s educational services

in any meaningful sense.” Felber v. Yudof, 851 F. Supp. 2d 1182, 1188 (N.D. Cal. 2011). Nor do

Plaintiffs provide any non-conclusory allegations that Boukin and Meyers reported the specific

incidents they allege to MIT, such that MIT would have “actual knowledge” of the alleged
                                                           5
harassment as Title VI requires. Davis, 526 U.S. at 650.



4
 See, e.g., Monteiro v. Tempe Union High Sch. Dist., 158 F.3d 1022, 1034 (9th Cir. 1998) (school
children were called “the most noxious racial epithet in the contemporary American lexicon,”
which was also written on the walls of their classrooms); Zeno, 702 F.3d at 666-67 (for three and
a half years, student was subjected to racial slurs, “frequent pejorative references to his skin tone,”
“explicit threats as well as implied threats, such as references to lynching,” and “physical attacks”).
5
 The cases Plaintiffs cite regarding notice all involve the vastly different circumstances of repeated
sexual abuse by the same employee. See Doe v. Sch. Admin. Dist. No. 19, 66 F. Supp. 2d 57, 62-
64 (D. Me. 1999); Forth v. Laramie Cnty. Sch. Dist. No. 1, 85 F.4th 1044, 1048-51 (10th Cir.
2023); Doe v. Sch. Bd. of Broward Cnty., 604 F.3d 1248, 1250-53 (11th Cir. 2010).


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       Finally, given that Plaintiffs repeatedly criticize MIT’s disciplinary response, MIT’s point

about ripeness is simple: Plaintiffs cannot ground a deliberate indifference claim on disciplinary

proceedings that, as the pleading itself alleges, are ongoing and based on events within the last few
        6
months. This is not a gambit by MIT to “wait out” claims. The law affords discretion to institutions

to respond based on their expertise and judgment, constrained only by the outer boundary of clear

unreasonableness. Of course, an institution could drag its feet for so long that the timing alone

could render its response clearly unreasonable; but Plaintiffs have not pointed to any case holding

that the “delay” alleged here comes remotely close. See Karasek v. Regents of Univ. of Cal., 956

F.3d 1093, 1106, 1109-10 (9th Cir. 2020).

II.    The Section 1986 Claim Should Be Dismissed.

       Plaintiffs’ Section 1986 claim—unlike any case Plaintiffs cite—would hold a private party

responsible for a conspiracy against civil rights even though that party had no alleged involvement

in the underlying conspiracy. It fails for several reasons.

       First, Plaintiffs fail to adequately allege the underlying Section 1985(3) conspiracy or the

requisite conspiratorial purpose. With no legal support whatsoever, Plaintiffs insist they have

pleaded a conspiracy by alleging that student groups coordinated to plan various protest activities

(Opp’n 25). But as multiple courts have held in decisions Plaintiffs do not address (MTD 25-26),

event-planning communications among alleged co-conspirators does not establish a “meeting of

the minds” to deprive a group of its civil rights. Even more to the point, Plaintiffs confuse intent

with effect. Even assuming the alleged conspiracy “had the practical effect of impeding the rights


6
 This commonsense conclusion is not refuted by Doe v. Purdue University, 464 F. Supp. 3d 989,
1000 (N.D. Ind. 2020), which involved a ripe claim by a student-respondent already adjudicated
for discipline. Nor does Patricia H. v. Berkeley Unified School District help Plaintiffs: it did not
involve an ongoing response and merely rejected an argument that the student’s withdrawal from
the school rendered her claim unripe. 830 F. Supp. 1288, 1298-99 (N.D. Cal. 1993).


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of Jewish and Israeli students” (Opp’n 26), which MIT disputes, that does not establish the alleged

co-conspirators intended such an effect: “impairment [of civil rights] must be a conscious objective

of the enterprise.” Bray v. Alexandria Women’s Health Clinic, 506 U.S. 264, 275 (1993) (emphasis
                                                                             7
added). Plaintiffs do not even attempt to argue that standard is met here.

       Second, Plaintiffs acknowledge they must plead a predicate for the alleged conspiracy yet

fail to do so. They abandon several of the predicates asserted in their Amended Complaint (Opp’n

27 & n.30), and none of the remaining predicates can sustain their claim. Even assuming the

Thirteenth Amendment includes a right to be free from serious racial violence perpetrated by

private parties, Plaintiffs have no answer to the case law establishing that serious racial violence

requires far more than the nonviolent conduct and speech that is alleged here (MTD 23). Winthrow

v. Clark, which did not involve a Thirteenth Amendment predicate at all, is not to the contrary.

No. 06-CV-11597, 2008 WL 8188363, at *5 (D. Mass. Aug. 15, 2008). And while Plaintiffs insist

that statutory predicates are cognizable under Sections 1981 and 1982 (Opp’n 26-27), they rely on

out-of-circuit cases that acknowledge a split of authority on that question, Wells v. Rhodes, 928 F.

Supp. 2d 920, 930 (S.D. Ohio 2013), and offer no decisions from the First Circuit endorsing the

statutory predicates they proffer. Indeed, it would make no sense to recognize these statutory

predicates when the Supreme Court has expressly rejected another statute, Title VII, as a predicate

(MTD 24) and the First Court has repeatedly acknowledged that the analysis for Section 1981 (and

in turn Section 1982) closely follows that of Title VII. See, e.g., Villanueva v. Wellesley Coll., 930

F.2d 124, 127 n.2 (1st Cir. 1991); Garrett v. Tandy Corp., 295 F.3d 94, 103 (1st Cir. 2002).

       At any rate, Plaintiffs have not adequately pleaded either Section 1981 or 1982 as a


7
 As for the cases cited by Plaintiffs: Libertad v. Welch, 53 F.3d 428, 446 (1st Cir. 1995) focused
on the purpose of the alleged conspiracy, not just its effect; and Phillip v. University of Rochester,
316 F.3d 291, 293 (2d Cir. 2003), which was abrogated by Twombly, is simply inapposite.


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predicate for the deprivation of rights they allege. Under Section 1981’s contract clause, Plaintiffs

have not alleged and cannot allege that plans by student groups to hold events in particular spaces

created binding and enforceable contracts at all, nor do they explain how the alleged conspiratorial

activity by third parties prevented Plaintiffs from making or enforcing contracts with MIT. See

Alston v. Spiegel, 988 F.3d 564, 572-74 (1st Cir. 2021). Under Section 1981’s equal benefit clause,

which MIT contests is even available against private parties like MIT, Plaintiffs nowhere allege

the “law or proceeding” at issue, and they rely exclusively on a case that rejected this claim and

predicate for that very reason. See Aziz v. FedEx Ground Package Sys., Inc., No. 4:18-CV-00245,

2019 WL 636972, at *6-7 (E.D. Tex. Feb. 14, 2019). As for Section 1982, Plaintiffs have no

support for their contention that students have legal property rights in a campus center for Jewish

life, and the cases upon which they rely involve acts of violence that are not alleged here. See

United States v. Greer, 939 F.2d 1076, (5th Cir. 1991) (white supremacists violently vandalized a

temple, including shooting out windows and doors and spray-painting swastikas and antisemitic

slogans); United States v. Brown, 49 F.3d 1162 (6th Cir. 1995) (member of KKK fired several

shots into a synagogue).

       Third, Plaintiffs do not and cannot allege the knowledge and neglect Section 1986 requires.

As to knowledge, Plaintiffs focus on the encampment (Opp’n 32), but knowledge that students

were violating MIT time, place, and manner restrictions is not equivalent to knowledge that they

were conspiring to deprive Plaintiffs of their civil rights. Similarly, knowledge that Jewish and/or

Israeli students were offended by activity on campus is not equivalent to knowledge that such

activity was unlawful, even if we assume actionable harassment (which MIT strongly disputes).

Plaintiffs also suggest that opposition to Zionism is categorically discriminatory (Opp’n 32), a

position for which they offer no legal authority and which the Education Department has pointedly




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                     8
declined to endorse. Ultimately, Plaintiffs condemn MIT because they subjectively believe its

response was not “proactive or effective” (Opp’n 32). While MIT strenuously disputes that

characterization, Plaintiffs’ invented standard is not the test for Section 1986 (negligence) or Title

VI (deliberate indifference).

III.   The State Law Claims Should Be Dismissed.

       The Amended Complaint fails to state a claim for breach of contract because it does not

identify any “definite and certain promises” that MIT breached. Brown v. Suffolk Univ., No. 19-

CV-40062, 2021 WL 2785047, at *6 (D. Mass. Mar. 31, 2021). Directly challenged by MIT to

identify the basis for their claim (MTD 28-29), Plaintiffs first cross-reference an entire section of

their pleading describing various MIT policies and procedures (Opp’n 33-34, citing AC ¶¶ 41-67),

but fail to identify any specific policy language giving rise to a reasonable contractual expectation

that MIT guaranteed “a welcoming community free from discrimination and discriminatory

harassment.” AC ¶ 423. Next, when Plaintiffs offer something more specific, namely two

provisions supposedly demonstrating that “MIT promised to enforce such policies when violated”

(Opp’n 34), the cited language completely refutes their theory. See AC ¶ 65 (“[A] representative

of the Institute may request the conduct to stop or ask the person or group to leave the area” and

“MIT reserves the right to take appropriate action”); id. ¶ 48 (“The outcome of disciplinary action

can include a warning, probation, suspension, expulsion, or degree revocation.”). While of course

MIT, like all institutions, strives for a campus free from discrimination and harassment, case law

sensibly recognizes that it retains “discretion to decide on an appropriate resolution method.” Wu

v. Ma, No. 22-CV-30033, 2023 WL 6318831, at *9 (D. Mass. Sept. 28, 2023).



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 See Office for Civil Rights, U.S. Dep’t of Educ., Dear Colleague Letter at 16-17 & n.34 (May 7,
2024), https://bit.ly/3z1ySeg.


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       Plaintiffs, moreover, fail to grapple with the broad ramifications of their theory (MTD 29-

30). Under their view, every institution of higher education can be held liable in contract for policy

statements and aspirational goals about the learning and living environments they strive to achieve.

The law is exactly to the contrary: courts do not read an institution’s “expectations regarding

student behavior”—such as the MIT policies Plaintiffs cite (see Opp’n 34)—as making “specific

promises about how [an institution] would respond if a student did not meet expectations.” 2023
                     9
WL 6318831, at *9. Plaintiffs cannot merely recast their insufficient Title VI claim as a claim

under contract law (MTD 29).

       Plaintiffs’ negligence claim also fails under Massachusetts law. First, Plaintiffs do not cite

a single case recognizing a duty of educational institutions to prevent any discrimination or

harassment in the learning environment. AC ¶ 404. They rely on Mullins v. Pine Manor College,

449 N.E.2d 331, 336 (Mass. 1983), which concerned a residential college’s duty to protect against

criminal acts by intruders in residence halls, and Schaefer v. Fu, 272 F. Supp. 3d 285, 288-89 (D.

Mass. 2017), discussing a university’s duty to protect a specific student from physical harm after

she reported to multiple faculty members behavior by another student that made his verbal and

physical harassment of her foreseeable. Neither applies nor is remotely analogous here. Second,

Plaintiffs offer no support for their extraordinary theory that Title VI—which contains no express

private right of action and does not make institutions responsible for eradicating all peer

harassment, Davis, 526 U.S. 629—created tort liability for any harassment on campus. That theory


9
  Neither case cited by Plaintiffs holds otherwise (Opp’n 34-35). In Czerwienski v. Harvard
University, the court relied on “far more specific” provisions than general policy statements,
including about particular “methods of investigation and resolution” for sexual harassment, 666 F.
Supp. 3d 49, 100 (D. Mass. 2023) (internal quotation marks omitted); and in Shulse ex rel. Shulse
v. Western New England University, the court relied on university representations beyond just a
statement about an “environment free from discrimination,” including specific commitments about
disability-related services, No. 3:19-CV-30146, 2020 WL 4474274, at *9 (D. Mass. Aug. 4, 2020).


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raises serious “federal preemption concerns” to which Plaintiffs have no answer. See Doherty v.
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Emerson Coll., No. 1:14-CV-13281, 2017 WL 4364406, at *10 (D. Mass. Sept. 29, 2017).

IV.    SCLJ Lacks Standing Entirely And No Plaintiff Has Injunctive-Relief Standing.

       Plaintiffs do not dispute that SCLJ lacks standing to seek damages. As for injunctive relief,

they misconstrue the “individual participation” bar to associational standing (Opp’n 10-11).

Associational standing is not appropriate where adjudicating the merits “requires the court to

engage in a ‘fact-intensive-individual inquiry,’” which is frequently the case for discrimination

claims. Nat’l Ass’n of Gov’t Emps. v. Mulligan, 914 F. Supp. 2d 10, 13-14 (D. Mass. 2012)

(quoting N.H. Motor Transp. Ass’n v. Rowe, 448 F.3d 66, 72 (1st Cir. 2006)). Although Plaintiffs

fixate on whether individual participation is “indispensable” (Opp’n 10), they misconstrue this

Circuit’s straightforward test for when associational standing is not viable: when “member

circumstances differ and proof of them is important.” Rowe, 448 F.3d at 72. Under that standard,

SCLJ lacks standing (MTD 32-33). Plaintiffs do not even attempt to explain how they could prove

key elements of their claims—including whether the alleged circumstances interfered with any

particular student’s education program—without individual participation by the students,

including their documents and testimony (see also MTD 33).

       Plaintiffs cannot recast their claims as “pattern and practice” in order to minimize the

intensely fact-specific and individualized nature of their claims (Opp’n 10-11). For one, there is

no “pattern or practice” theory in this case, see supra at 1 n.1, and Plaintiffs have abandoned their

disparate treatment theory, leaving only the deliberate indifference claim with its highly fact-

intensive elements (MTD 32-33). The fact-specific claims Plaintiffs bring bear no resemblance to


10
  Plourde v. Sorin Group USA, Inc. is a non-sequitur: it concerned a preemption provision in the
Food, Drug, and Cosmetic Act and involved coextensive state and federal requirements, not state
duties that would vastly exceed requirements under federal law. 23 F.4th 29, 33 (1st Cir. 2022).


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the cases they cite involving a facial challenge to an admissions policy where student-specific facts

were “uncontested,” Bos. Parent Coal. for Acad. Excellence Corp. v. Sch. Comm. for City of Bos.,

89 F.4th 46, 55 (1st Cir. 2023), or an inherently “group-based” claim for crimes against humanity

under the Alien Tort Statute, which relies on evidence of “widespread, systematic persecution,”
                                                                                       11
Sexual Minorities Uganda v. Lively, 960 F. Supp. 2d 304, 310, 327 (D. Mass. 2013).

       Finally, the injunctive relief sought is fatally overbroad. The Amended Complaint’s

allegations, far from demonstrating that future injury is “certainly impending,” demonstrate several

steps MIT has taken—including disciplinary action, arrests, and clearing the encampment—that

make such injury speculative at best. AC ¶¶ 125 n.73, 184, 238, 244; MTD Ex. 9. What is more,

none of Plaintiffs’ speculation about what might occur and how MIT might respond is tied to the

two students in whose name this case has been filed, and neither student can demonstrate future

harm to them by pointing to alleged experiences of other students not in the lawsuit. None of
                                                                                         12
Plaintiffs’ cases (Opp’n 12-13) endorse injunctions based on this type of speculation.

                                         CONCLUSION

       The Amended Complaint should be dismissed in its entirety and the case should be closed.




11
  Plaintiffs also overread Timothy B. v. Kinsley, an unpublished out-of-circuit decision that allowed
associational standing because Congress expressly authorized the organization to sue and the claim
(about systematically isolating and institutionalizing disabled foster children) did not turn on
individualized proof. No. 1:22-CV-1046, 2024 WL 1350071, at *11-13 (M.D.N.C. Mar. 29, 2024).
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  Davis, 526 U.S. 629 (1999), and Ruffino v. State Street Bank & Trust Co., 908 F. Supp. 1038 (D.
Mass. 1995), did not address standing at all; Nulankeyutmonen Nkihtaqmikon v. Impson, 503 F.3d
18, 26-28 (1st Cir. 2007), and Doe v. University of Tennessee, 186 F. Supp. 3d 788, 812-14 (M.D.
Tenn. 2016), addressed procedural rights of individuals who were parties to ongoing proceedings;
and Pocono Mountain Charter School v. Pocono Mountain School District, 908 F. Supp. 2d 597,
615 (M.D. Pa. 2012), and Connor B. ex rel. Vigurs v. Patrick, 771 F. Supp. 2d 142, 151-53 (D.
Mass. 2011), involved distinguishable allegations about institutional policies that affected all
plaintiffs and did not endorse the breadth of injunctive relief sought here.


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Dated: July 19, 2024                  Respectfully submitted,

                                              MASSACHUSETTS INSTITUTE OF
                                              TECHNOLOGY,

                                              /s/ Ishan K. Bhabha
                                              Ishan K. Bhabha (pro hac vice)
                                                IBhabha@jenner.com
                                                202.637.6327
                                              Lauren J. Hartz (pro hac vice)
                                                LHartz@jenner.com
                                                202.637.6363
                                              JENNER & BLOCK LLP
                                              1099 New York Avenue, N.W., Suite 900
                                              Washington, DC 20001-4412

                                                     and

                                              Daryl J. Lapp (BBO No. 554980)
                                               daryl.lapp@lockelord.com
                                              Elizabeth H. Kelly (BBO No. 672277)
                                               liz.kelly@lockelord.com
                                              LOCKE LORD LLP
                                              111 Huntington Avenue
                                              Boston, MA 02199
                                              617.230.0100



                                 CERTIFICATE OF SERVICE

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                                              /s/ Ishan K. Bhabha
                                              Ishan K. Bhabha




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